     Case 1:19-bk-12322-MT        Doc 152 Filed 02/08/22 Entered 02/08/22 16:22:58                  Desc
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                                                                          CLERK U.S. BANKRUPTCY COURT
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                              UNITED STATES BANKRUPTCY COURT
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                                CENTRAL DISTRICT OF CALIFORNIA
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                                 SAN FERNANDO VALLEY DIVISION
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12
13   In re:                                          Case No.: 1:19-bk-12322-MT
14   M Shah Dental Inc                               CHAPTER 7
15                                                   ORDER TO SHOW CAUSE WHY TRUSTEE
                                                     CANNOT FILE FINAL REPORT AND/OR
16                                                   ZERO BALANCE REPORT
17
                                                     Date:      May 11, 2022
18                                     Debtor(s).
                                                     Time:      11:00 a.m.
                                                     Courtroom: 302 (via Zoomgov.com
19
20
              As Judge Tighe will be retiring and taking recall status in June, it is necessary to
21
     determine which cases may need to be reassigned in 2023. Therefore,
22
              ON THE COURT’S OWN MOTION, the Chapter 7 Trustee assigned to this case
23
     (“Trustee”) is ordered to appear remotely at the above date and time, via Zoomgov.com,
24
     to explain why Trustee cannot file a final report by May 11, 2022. The hearing shall
25
     take place using ZoomGov.com, a service that provides simultaneous audioconference
26
     and videoconference capabilities. The service is free to participants. Participants will
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     be connected with the courtroom using these technologies but will not be physically
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     present in the Courtroom. Participants may connect to the videoconference through an




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1    Internet browser by entering the Videoconference URL shown below, as well as the
2    meeting ID and password, when prompted.
3                  Videoconference URL: https://cacb.zoomgov.com/j/1618710247
4                  Meeting ID: 161 871 0247
5                  Password: 986284
6          If a participant is unable to send and receive audio through his/her computer, the
7    participant may appear at the hearing by telephone using the following telephone
8    conference information:
9                  Telephone Conference No.: 1-669 254 5252 OR 1-646 828 7666
10                 Meeting ID: 161 871 0247
11                 Telephone Conference Password: 986284
12
13         IT IS FURTHER ORDERED that if Trustee’s administration of the case cannot be
14   concluded by May 11, 2022, Trustee is to file a status report on or before May 1, 2022
15   and appear at the hearing time listed above to answer any questions about the case. If
16   the status report answers any questions the Court may have, the hearing will be
17   vacated.
18                                              ###
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          Date: February 8, 2022
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